                 Case 1:13-cr-00220-JRH-BKE Document 450 Filed 04/13/15 Page 1 of 1
AO247(10/ll) O.derResaldinsMotionfor Sentence
                                            Reduction
                                                    Pusuantto l8 U.S C $ 3582(cX2)                             PaseI of2 (PaBe2 Not for Public Disctosure)



                                                            UNITED STATESDISTRICTCOURT
                                                                                                         u.s.0t5ICI COURT
                                                                                                              ALI$ TAOlv.
                                                                       for the
                                                               Southem District of Georgia              20riffnl3 Aflll:33
                                                                     AugustaDivision
                     UnitedStatesof America
                                     V.
                                                                              CaseNo: CRI l3-00220-014
              Tyler JamesBarcenas,aka "Balita"
                                                                              U S I MN o : 1 8 5 0 6 - 0I 1
                                  I"l.' ln                  ,)n1,4
Dateof OriginalJudgment:                                                      TraversW. Chance
Date ofPrevious Amended Judgment: Not Applicable                              D€fendanfs Attomev

(Use Date of Last Anended Judgnent iI Ant/


                     Order RegardipgMotion for SentenceReductionPursuantto 18 U,S.C.$ 3582(cX2)

       Uponmotionof l-l the defendantl-lthe Directorof the Bureauof PrisonsSthe courtunderl8 U,S.C.
$ 3582(cX2)for a reductionin thetermof imprisonment  imposedbasedon a guidelinesentencingrangethat has
subsequentlybeenloweredandmaderetroactiveby theUnitedStatesSentencing      Commissionpursuantto 28 U.S.C.
$ 99a(u),and havingconsidered   suchmotion,andtakinginto accountthe policystatement
                                                                                  setforth at USSG$ 1B1.10and
thesentencing factorssetfofih in l8 U.S.C.$ 3553(a),
                                                  to theextentthattheyareapplicable,
lT lS ORDEREDthatthemotionis:
!    OENEO. I          CnANTEO and the defendant'spreviously irnposedsentenceof imprisonment (asrcJtected     judsmenl
                                                                                                       inthetast
                       irraer,of 48 months is reduced to                         46 months


                                                (Complete Parts I and II of Page 2 v,hen motion is granted)




Except as otherwiseprovided above, all provisions ofthe judgment dated
IT IS SO ORDERED.

Order Date:




                                                                              J. RandalHall
                    November
                           1.2015                                             United StatesDistrict Judge
                      (d d ille re nt /rom orde r da te.1                                     Print"rJno-" *diiii-
